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   ADAMS, J.



                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION

   UNITED STATES OF AMERICA,                               )      CASE NO. 1:05CR0537
                                                           )
                    Plaintiff,                             )
                                                           )      JUDGE JOHN R. ADAMS
           v.                                              )
                                                           )      ORDER
   DWAYNE NABORS, et al.,                                  )
                                                           )
                    Defendants.                            )

           This action is before the Court upon the following motions filed in Case No.1:05CR0537

   and the related civil cases:1

   Defendant                          Motion                                     Civil Case No.

   Tyron Brown                        Motion for New Trial                       NA
                                      Under Rule 33(b)(1)2

   Jerry Moton                        Motion to Vacate Under                     1:08CV0088
                                      28 U.S.C. § 2255

   Dametrese Ransaw                   Motion to Vacate Under                     1:07CV2818
                                      28 U.S.C. § 2255

   Arrico Spires                      Motion to Vacate Under                     1:08CV0127
                                      28 U.S.C. § 2255

   Charles D. Mathews                 Motion to Vacate Under                     1:07CV2817
                                      28 U.S.C. § 2255



           1
            Defendants Dwayne Nabors (Case No. 07-3057), Albert Lee, Jr. (Case No. 07-3108), and
   Marlon L. Brooks (Case No. 06-4534) have appeals pending in the Court of Appeals for the Sixth Circuit.
   This Court will enter a subsequent Order granting them similar relief when their cases are remanded or
   dismissed by the Sixth Circuit.
           2
            Doc. 897 in Case No. 1:05CR0537.
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   James Burton                     Motion to Vacate Under           1:07CV3383
                                    28 U.S.C. § 22553                1:08CV0121

   Noel Mott                        Motion to Vacate Under           1:08CV0089
                                    28 U.S.C. § 2255

   Jim Williams                     Motion to Vacate Under           1:07CV2819
                                    28 U.S.C. § 2255;
                                    Motion for Relief from
                                    Judgment Under Rule 60(b)4

   Nolan Lovett                     Motion to Vacate Under           1:07CV2754
                                    28 U.S.C. § 2255

   Johnny Robertson                 Motion to Vacate Under           1:08CV0090
                                    28 U.S.C. § 2255

   Frank Douglas                    Motion to Vacate Under           1:07CV2621
                                    28 U.S.C. § 2255

   Robert Harris, III               Motion to Vacate Under           1:07CV2735
                                    28 U.S.C. § 2255

   The Court has reviewed the Government’s Motion for Leave of Court to Dismiss (Doc. 911 in

   Case No. 1:05CR0537), which provides in part that

          the government has concluded that Bray’s illegal conduct was so pervasive and
          his credibility so tainted by his guilty plea, that each of the above-captioned
          defendants should be entitled either to a new trial or to withdraw their guilty
          pleas. Therefore, the government has no objection to this Honorable Court
          granting the motions previously set forth to the extent that said pleading have
          attacked the credibility of Jerrell Bray.

   Id. at 5. The Court agrees. Therefore, the convictions and sentences of defendants

   Tyron Brown, Jerry Moton, Dametrese Ransaw, Arrico Spires, Charles D. Mathews,




          3
           Burton has filed two Motions to Vacate Under § 2255.
          4
           Doc. 835 in Case No. 1:05CR0537.

                                                        2
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   James Burton, Noel Mott, Jim Williams, Nolan Lovett, Johnny Robertson, Frank Douglas, and

   Robert Harris, III in Case No. 1:05CR0537 are VACATED. Furthermore, the guilty pleas of

   these defendants in Case No. 1:05CR0537 are WITHDRAWN.

           Case Nos. 1:08CV0088, 1:07CV2818, 1:08CV0127, 1:07CV2817, 1:07CV3383,

   1:08CV0121, 1:08CV0089, 1:07CV2819, 1:07CV2754, 1:08CV0090, 1:07CV2621, and

   1:07CV2735 are CLOSED.

           Next, the government states in Doc. 911 that it

           has additionally reviewed the evidence in light of proceeding to trial as to each of
           the defendants. In this regard, the government has concluded, as previously
           noted, that Bray, as an essential witness, is not reliable or credible. The
           government also noted in reviewing the evidence that many of the foregoing
           defendants made voluntary statements to law enforcement admitting their roles in
           the distribution of crack cocaine in the greater Mansfield area. Despite these
           admissions, based on the government’s abiding belief in our system of justice and
           fundamental fairness, Bray’s illegal conduct in the Mansfield investigation
           (violating [people’s] civil rights and committing perjury before this Court) is so
           pervasive that it leaves the government with no alternative other than to conclude
           that these matters must be dismissed.

   Id. at 5-6.

           For good cause shown and in the interest of justice, the government’s Motion for Leave

   of Court to Dismiss (Doc. 911) is GRANTED as to defendants Tyron Brown, Jerry Moton,

   Dametrese Ransaw, Arrico Spires, Charles D. Mathews, James Burton, Noel Mott,

   Jim Williams, Nolan Lovett, Johnny Robertson, Frank Douglas, and Robert Harris, III. All

   charges pending in Case No. 1:05CR0537 against these defendants only are DISMISSED.

           The Clerk of Court shall docket the within Order in Case Nos. 1:05CR0537,

   1:08CV0088, 1:07CV2818, 1:08CV0127, 1:07CV2817, 1:07CV3383, 1:08CV0121,




                                                    3
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   1:08CV0089, 1:07CV2819, 1:07CV2754, 1:08CV0090, 1:07CV2621, and 1:07CV2735.



         IT IS SO ORDERED.


    January 25, 2008                       /s/ John R. Adams
   Date                                  John R. Adams
                                         U.S. District Judge




                                           4
